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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  JESSICA CAPLIN,
                                                              Civil Action No. 20cv21886
         Plaintiff,                                           JURY DEMANDED

  v.

  EVERGLADES COLLEGE INC. D/B/A
  KEISER UNIVERSITY COLLEGE
  OF CHIROPRACTIC MEDICINE,

        Defendant.
  __________________________________/

                                           COMPLAINT

                               I.      PRELIMINARY STATEMENT

         1.      This is an action by JESSICA CAPLIN (“Ms. Caplin”), a student with a

  documented history of dyslexia and learning disabilities, to which she has a history of receiving

  accommodations using speech driven auxiliary aids in her past studies. Ms. Caplin seeks protection

  against and damages for discrimination and retaliatory action taken by EVERGLADES

  COLLEGE, INC. D/B/A KEISER UNIVERSITY COLLEGE OF CHIROPRACTIC MEDICINE

  (“Keiser”) in response to her repeated complaints to Keiser and her federally protected complaints

  to the United States Department of Education’s Office of Civil Rights (OCR).

         2.      Keiser’s actions, set forth more fully herein, violate section 504 of the

  Rehabilitation Act of 1973, 29 U.S.C. § 794, and Title II of the Americans with Disabilities Act

  (ADA, ADA-AA), 42 U.S.C. §12131.

         3.      For relief, Plaintiff seeks injunctive remedy of non-retaliation, compensatory

  damages for the significant emotional and financial harm caused by Keiser and for Keiser’s




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  retaliation for Plaintiff’s exercise of federally guaranteed rights, authorization to take Part 4 of the

  Chiropractic Boards, along with attorney’s fees and costs.

                                              II.     PARTIES

            4.    The Plaintiff is Jessica Caplin, a student dismissed from Keiser’s chiropractic

  school.

            5.    Plaintiff is a resident of Palm Beach County and citizen of the United States.

            6.    Defendant, Keiser, is a private university located at 2085 Vista Pkwy, West Palm

  Beach, FL 33411. Keiser is a not-for-profit 501(c)(3) corporation incorporated in the State of

  Florida and is managed and controlled by Everglades College, Inc. Board of Trustees.

            7.    Keiser is responsible for avoiding discrimination on the basis of disability, for

  complying with Florida law, and for resisting retaliation against persons who make good faith

  complaints of discrimination/retaliation/failure to accommodate.

            8.    Keiser is bound by the Americans with Disabilities Act and its amendments, as well

  as Section 504 of the Rehabilitation Act.

                                  III.    JURISDICTION AND VENUE

            9.    This action arises under the laws of the United States, and therefore this Court has

  jurisdiction pursuant to 28 U.S.C. §1331 (federal question).

            10.   This action also arises under the following federal statutes: The Americans with

  Disabilities Act of 1990 (ADA), Pub. L. No. 101-336, 104 Stat. 327 (1990), 42 U.S.C. §§ 12101

  et seq., amended by the Americans with Disabilities Amendments Act (ADA-AA) with an

  effective date of January 1, 2009, which, at Title II of the ADA, prohibits discrimination in the

  provision of public services. Section 202 of the Act, 42 U.S.C. § 12132 (Supp. 1991), the

  Rehabilitation Act of 1973, §§ 504 and 505, as amended, 29 U.S.C.A. §§794 and 794a, including




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  the conforming amendment of the ADA-AA which changes the definition of “disability” under

  §504 to conform to the definition of “disability” under ADA-AA. Both the ADA and §504 prohibit

  retaliation against persons with disabilities, or persons who advocate on behalf of a student’s

  education or who have filed a complaint with the Office of Civil Rights (OCR).

          11.     Venue is properly in this Court pursuant to 28 U.S.C. §1391, in that all parties reside

  in this Judicial District and the matters at issue in this Judicial District.

                               IV.    LEGAL BASES FOR THIS LAWSUIT

          12.     Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, bars all federally funded

  entities (government or otherwise) from discriminating on the basis of disability. Section 504

  states, in relevant part:

          No otherwise qualified individual with a disability in the United States . . . shall,
          solely by reason of his or her disability, be excluded from the participation in, be
          denied the benefits of, or be subjected to discrimination under any program or
          activity receiving Federal financial assistance or under any program or activity
          conducted by any Executive agency or by the United States Postal Service.

  29 U.S.C. § 794(a).

          13.     Defendant Keiser receives federal financial assistance and is covered by Section

  504.

          14.     Title II of the ADA prohibits discrimination against individuals with disabilities

  from educational institutions providing services to the general public and receiving federal

  financial assistance. The purpose of the law is to ensure that people with disabilities have the same

  rights and opportunities as everyone else.

          15.     Both Section 504 and the ADA prohibit retaliation against any person who has

  advocated on behalf of their education or participated in a proceeding concerning their education.

                          V.         PROCEDURAL AND FACTUAL HISTORY




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          16.      Ms. Caplin has a documented history of dyslexia and learning disabilities, to which

  she has a history of receiving accommodations using speech driven auxiliary aids in her past

  studies. Ms. Caplin has used Dragon Software and Natural Reader in the past as assistive

  technology to help her in her studies.

          17.      Ms. Caplin was recruited by Keiser for its chiropractic program in April of 2016.

  At that time, Keiser was aware of Ms. Caplin’s disability and accepted her into the program

  promising to accommodate her.

          18.      Ms. Caplin requested accommodations from Keiser and was granted based off of

  her disability 504 Plan and IEP, the following accommodations:

                a. Extended time for tests/exams/quizzes (2x)

                b. Private/quiet (separate) room for testing

                c. Reader for tests/exams (to be coordinated with instructor/dean . . . .)

                d. Use of relative assistive technology (Kurzweil, Dragon, Natural Reader)

                e. Alternative book format (if and when available, to be coordinated with dean)

  See Exhibit “A” August 18, 2016 Keiser Letter.

          19.      As part of her studies to become a chiropractor, Ms. Caplin must complete a clinical

  course in which she and all other clinic students would treat real patients and be evaluated by one

  of Keiser’s professors. Being aware of this requirement, Ms. Caplin, in February 2018, requested

  her reasonable approved accommodations be ordered so that they would arrive before the time she

  had to take her clinical course. At that time, she was rejected and told it was too early to be thinking

  about the accommodations and that the issue would be addressed at a later time when the clinic

  course got closer.




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         20.     Ms. Caplin was also provided with reading material for her courses. These reading

  materials were required to meet her accommodations. Yet, the reading material for the clinic was

  never compatible with her software nor provided in an accessible format for Ms. Caplin to read

  with her disability during her time at Keiser.

         21.     From the first time Ms. Caplin requested accommodations, countless requests have

  occurred, and countless discriminatory acts have taken place against her.

         22.     Dr. Wiles, Dr. Kruse, Dr. Adorno, Dr. Sikora, Dr. Stabile, Dr. White, Dr.

  Benavides, Dr. Spilker, President Lea, and any other Keiser employees mentioned herein, are all

  agents, either as professors, deans or otherwise, at Keiser.

         23.     On February 2018, Ms. Caplin informed Dr. Wiles about getting an electronic

  Health Record (“EHR”) with needed assistive technology as part of her mandated accommodations

  granted by Keiser in an attempt to have everything set up for her clinical class. Dr. Wiles instead

  responded the issue would be revisited once the clinic approached. This request was made as the

  clinic was required to order its own set of compatible assistive technology as Ms. Caplin would

  not be able to use her personal computer due to HIPAA compliance.

         24.     On March 15, 2018, Ms. Caplin returned to classes after missing three days due to

  an unrelated automobile accident where she fractured her finger. Ms. Caplin provided a doctor's

  note stating she could not participate in manipulation class due to her broken finger. Dr. Sikora

  advised Ms. Caplin, under Dr. Kruse’s direction, that she had to participate in her manipulations

  class with her broken finger, or she would fail her coursework. Dr. Sikora and Dr. Kruse ignored

  the doctor’s note provided and Ms. Caplin’s injury and threatened Ms. Caplin with failing the

  class. The manipulation resulted in delayed healing of Ms. Caplin’s injury. Ms. Caplin reported




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  the incident to Dr. Wiles, which only caused more friction between Ms. Caplin, Dr. Kruse, and Dr.

  Sikora.

            25.   In October 2018, Dr. Adorno informed Dr. Wiles of the necessity of assistive

  software for Ms. Caplin’s success at Keiser and it was part of Ms. Caplin’s mandated

  accommodations.

            26.   On January 31, 2019, Ms. Caplin reminded Dr. Kruse and President Lea about her

  need for the Dragon Software and natural reader since she would have issues with handwriting

  notes. Dr. Kruse stated he did not have knowledge of this and would look into the technology Ms.

  Caplin needed. At this point, Keiser had plenty of time to have ordered the required software to

  meet Ms. Caplin’s approved accommodations yet the reading and writing software, including the

  forms, were not accessible.

            27.   On February 1, 2019, Ms. Caplin spoke to both Dr. Kruse and Dr. Luce and was

  told the Dragon Software was not available and Ms. Caplin would not be able to participate in the

  clinic until the software was received.

            28.   On February 8, 2019, Ms. Klamson informed Ms. Caplin that a tablet was set aside

  for use. However, the tablet did not have assistive technology nor any compatible forms to use on

  the tablet for the clinical course. Ms. Caplin performed her own research on which Dragon

  Software to order for the clinical purposes and emailed Ms. Klamson with two appropriate options

  even though both the Disabilities Coordinator and IT Manager should have known the options.

            29.   On February 18, 2019, Ms. Caplin was still not allowed to see patients and benched

  from participation. Ms. Caplin begged Dr. Kruse to allow her to see a patient as she was falling

  behind all the other students in experience by not being allowed to treat real patients. Ms. Caplin

  asked another student at Keiser to come to the clinic and request to see Ms. Caplin specifically.




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  Dr. Kruse allowed Ms. Caplin to see the student without the use of assistive technology and only

  allowing another classmate to scribe for her as a temporary measure. The scribe was in control of

  the paperwork and it was challenging for Ms. Caplin to stay organized. The scribe was not trained

  or approved to provide Ms. Caplin her required accommodations.

         30.     In late February 2019, the Dragon Software finally arrived but was unusable due to

  Keiser’s failure to upload the medical forms to the tablet. This problem went on for months, forcing

  Ms. Caplin to fall behind on her education and without recourse to fix the problem. Neither the

  Disabilities Coordinator nor the IT Manager were able to intervene and resolve this issue. Every

  other student at Keiser had equal opportunity to participate in the clinic and had access to the

  medical forms, except Ms. Caplin, due to her disability.

         31.     On March 1, 2019, Ms. Caplin saw another patient at the clinic without any of the

  accommodations she was promised by Keiser. Five days after the evaluation, Dr. Kruse advised

  Ms. Caplin that it was a formal evaluation. Dr. Kruse and Dr. Spilker informed Ms. Caplin that

  she failed the assessment, without taking into considerations that she did not have the required

  accommodations and the fact that Ms. Caplin was denied three-weeks of training every other

  student had due to Keiser’s failure to provide accommodations for her clinical studies.

         32.     On March 8, 2019, Ms. Caplin requested an appointment with Dr. Benavides, her

  academic advisor, to improve her skills and Dr. Benavides cleared her to see patients under

  supervision.

         33.     On March 11, 2019, Ms. Caplin was informed she was going to see a patient. Prior

  to the scheduled patient’s appointment, Ms. Caplin was shadowing another student during their

  clinical encounter. Dr. Kruse pulled her out from the learning opportunity to prepare for her




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  scheduled patient. However, the patient was a no-show and Ms. Caplin was reprimanded for “not

  doing anything productive” since her patient was a no-show.

          34.     On March 13, 2019, Ms. Caplin was informed she was going to see a patient.

  However, again the patient was a no-show. It became a pattern for Keiser to tell Ms. Caplin she

  would be scheduled to see a patient and the patient would be a “no-show.” Ms. Caplin was told

  she was unfit to practice on this day without basis. After requesting more information why he felt

  that way, Dr. Kruse stated he “needed a witness” present to speak with Ms. Caplin. Dr. Kruse

  brought President Lea and Dr. Stabile to his office for an impromptu meeting with Ms. Caplin. In

  this meeting, President Lea accused Ms. Caplin of having an inappropriate tone and introduced

  Ms. Caplin to Dr. Stabile, the disabilities coordinator whom Ms. Caplin had never met before in

  her three years in the program, and was always informed by Keiser that President Lea was her

  contact for any accommodation’s issues. At this meeting, Ms. Caplin asked President Lea to rectify

  the accommodation issue so she could finally be able to see patients in the clinic. Ms. Caplin’s

  parents also placed a call to President Lea regarding the needed accommodation in an attempt to

  rectify the situation.

          35.     An informal meeting was planned between the President Lea, Dean Barrios, Dr.

  Kruse, Dr. Spilker, Dr. Benavides, Dr. Stabile, Ms. Caplin, her parents, and her brother for March

  19, 2019 to discuss Ms. Caplin’s progression in the clinic and the assistive technology. On March

  18, 2019, Ms. Caplin’s parents requested that they have a phone conversation instead since they

  had a vacation planned for March 20, 2019. Ms. Caplin’s mother was informed telephonically by

  President Lea that if the meeting did not occur on March 19, 2019, Ms. Caplin would fail the clinic

  course and was forced to attend the meeting on March 19, 2019. During the meeting, Ms. Caplin

  was told she “was not going to be passed in the class just because she has a disability” to which




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  Ms. Caplin advised she has earned every grade she has received in her studies at Keiser and only

  requests that she be given an equal opportunity to succeed in the course. President Lea told Ms.

  Caplin on at least two separate occasions that she was not going to be passed because of her

  disability. Ms. Caplin’s brother requested a sample rubric for evaluation and was informed that

  one was in the process of being created. At this point, a formal rubric was not in place when Ms.

  Caplin failed her evaluation. At this meeting, Dr. Stabile suggested Ms. Caplin be provided an

  automatic blood pressure machine in the clinical setting. Ms. Caplin was then told to return to the

  clinic and practice skills the following Wednesday and that she would have the Objective

  Structured Clinical Examination (“OSCE”) that following Friday.

         36.     On March 20, 2019, Ms. Caplin returned to the clinic and practiced taking blood

  pressure and reflexes with Dr. Benavides. Ms. Caplin stated to Dr. Benavides that the blood

  pressure cuff was leaking air and was giving her challenges. Dr. Benavides disregarded her

  statement and failed to address the issue. Ms. Caplin ended up having a faulty blood pressure

  bladder, making her exam and learning opportunity nearly impossible.

         37.     On March 22, 2019, Dr. Spilker and Dr. Benavides informed Ms. Caplin that she

  had passed her OSCE exam and that she was able to see patients again under the supervision of

  Dr. Kruse. At this point, Ms. Caplin had met the required standards to see patients independently.

  Every other student in the class was able to see patients and did not always have assessments for

  every patient encounter if the required standards were met, except for Ms. Caplin. During an

  examination of a patient, Ms. Caplin’s blood pressure monitor malfunctioned and was leaking air

  leading to a faulty read. Ms. Caplin had already reported the faulty blood pressure monitor to Dr.

  Benavides, who had failed to do anything about the issue. Ms. Caplin asked to use a different blood

  pressure monitor and was refused this opportunity. Mr. Caplin emailed Dr. Wiles requesting the




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   automatic blood pressure machine as was approved by Dr. Stabile and Dr. Wiles rejected the

   accommodation request. Keiser failed to provide required accommodations for this evaluation.

          38.     On March 27, 2019, Ms. Caplin’s tablet was still not working and Ms. Caplin

   worked with Dean McCall in an attempt to resolve the situation and receive the accommodations

   approved by Keiser since August of 2016 but could not resolve the accommodation issue.

          39.     On March 29, 2019, Ms. Caplin arranged for a guest speaker to give a presentation

   to the Grand Rounds class. Dr. Kruse informed Ms. Caplin that she was not allowed to be at the

   presentation because she would potentially be seeing a patient. However, Dr. Kruse never actually

   assigned Ms. Caplin a patient on March 29, 2019.

          40.     On April 1, 2019, Ms. Caplin still did not have her own case despite everyone else

   in the clinic being assigned several. While observing another clinic student, Ms. Caplin was

   directed by the other student to get a paper form filled out (not accessible with Ms. Caplin’s

   technology) by his patient in the waiting room pertaining to whether the patient was experiencing

   neck pain. After the shift, Dr. Kruse reprimanded and advised Ms. Caplin in the clinic hallway to

   never do that again.

          41.     Since passing the OSCE exam on March 22, 2019, Ms. Caplin was still not being

   provided her accommodations or assigned any patients to examine in the clinic. On April 2, 2019,

   Ms. Caplin was told she would be assigned a patient the following day. Ms. Caplin asked Dr.

   Benavides whether her accommodations would be provided and whether she would be evaluated

   again as she had not had any patient encounters between graded exams. Since passing her OSCE

   on March 22, 2019 and since beginning the clinic in January, Keiser staff continuously failed to

   give Ms. Caplin equal opportunity to participate and learn at the clinic.




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          42.     On April 3, 2019, after Ms. Caplin finished observing the other student and her

   patient, they were both disciplined by Dr. Kruse because they had a general conversation with the

   patient. This resulted in Ms. Caplin being late to her next class.

          43.     On April 3, 2019, Ms. Caplin was finally assigned to a patient and was handed a

   tablet without a keyboard or any accessible clinic forms rendering the tablet useless.

          44.     Ms. Caplin went to the student lab to practice her clinical skills and was later called

   to the clinic to see a patient without the use of a scribe or accommodations. Within five minutes

   of being in the room, Ms. Caplin was pulled out of the room by Dr. White and forced to sign a

   “HIPAA Violation” document she did not understand. See Exhibit “B” Inquiry Regarding HIPAA

   Policy Violations. Ms. Caplin was required to enter a room and not allowed to leave without

   signing the document, which was not made accessible with her assistive technology nor was Ms.

   Caplin allowed any time to review the document. Ms. Caplin did not commit any HIPAA violation

   and it was merely Keiser’s attempt to place Ms. Caplin on a behavioral probation and disparage

   her professional reputation. Due to this fiasco, Ms. Caplin missed her patient’s entire case history

   and had to share her case with another student, all the while unknowingly being evaluated for her

   patient encounter. Ms. Caplin performed the vitals and lumbar exam and was told to leave the

   room and wash her hands. Upon returning, the other student was redoing all her testing and

   checking her work at the direction of Dr. Kruse suggesting Ms. Caplin performed them incorrectly.

   Dr. Kruse failed to show that Ms. Caplin ever performed this incorrectly or attempted to teach her

   if she had done it incorrectly. Instead, Dr. Kruse pinned another student against Ms. Caplin to

   undermine her and used that student to redo the work. Ms. Caplin then suggested to Dr. Kruse that

   she perform ESTIM for 12 minutes on the patient and cox flexion distraction as well as

   manipulation. The other student was instead assigned Ms. Caplin’s suggestion of lumbar




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   manipulation, taking away Ms. Caplin’s equal opportunity to treat the patient. Dr. Kruse failed

   Ms. Caplin in her evaluation for this exam.

           45.     On April 5, 2019, Ms. Caplin set up an appointment with Dean McCall to resolve

   her accommodation issues. Dean McCall and Ms. Caplin agreed that Ms. Caplin should do a test

   run before using the tablet in the clinic. At this time, Ms. Caplin brought to Dean McCall’s

   attention that she was still missing all of her Outcome Assessment Tools (“OATS”) forms and

   needed them to be uploaded as these forms were essential in the clinic. By this time, Keiser had

   been on notice for months regarding Ms. Caplin’s accommodations and continuously failed to

   provide them for her.

           46.     Dr. Kruse called Ms. Caplin into his office to speak about her evaluation and both

   him and Dr. Sikora advised Ms. Caplin that she was still insufficient in the areas of difficulty that

   she had been cleared for two weeks prior. Dr. Benavides and Dr. Spilker agreed during her OSCE

   that Ms. Caplin needed practice with patients that every other student was receiving, but they were

   not concerned with Ms. Caplin to hold her back from practicing as an intern in the clinic. Dr. Kruse

   required that Ms. Caplin sign a remediation form without an advocate present or the information

   being accessible with her assistive technology. Ms. Caplin requested a copy of the form and time

   to review it.

           47.     On April 9, 2019, Ms. Caplin was given a flash drive that contained personal patient

   information to complete under Dr. Kruse’s instruction as a clinic take-home assignment in

   radiology. Ms. Caplin reported the HIPAA violation to Dean Wiles, as was required under the

   situation. Ms. Caplin did not want to get in trouble since she was already forced to sign a previous

   HIPAA Violation form for a false violation. Instead of praise, Ms. Caplin was received with

   slander and statements blaming her for making an alleged false HIPAA complaint to the Dean




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   without him reviewing any of the evidence. Dean Wiles revealed to Ms. Caplin’s professors that

   she reported the violation anonymously to him, violating the Family Educational Rights and

   Privacy Act (“FERPA”). This left Ms. Caplin in a compromising position with her professors.

          48.     On April 10, 2019, Ms. Caplin saw a patient and was evaluated by Dr. White. Dr.

   White gave her a passing score and told Ms. Caplin that she scored highest in the professionalism

   section. Ms. Caplin requested a copy of her evaluation sheet to review but was told by Dr. Kruse

   “that a witness must be present for every interaction between them.” No other student required a

   witness for every encounter with Dr. Kruse, only Ms. Caplin.

          49.     On April 12, 2019, Ms. Caplin again did not have a patient assigned to her. On

   April 13, 2019, the tablet was still not provided with working accommodations.

          50.     On April 15, 2019, Dr. Kruse insisted that Ms. Caplin sign the evaluation from

   April 3, 2019. Ms. Caplin stated she did not feel the evaluation was performed fairly as she did not

   have the required accommodations and was pulled out from the evaluation to discuss the alleged

   HIPAA incident.

          51.     Ms. Caplin then received another evaluation from Dr. Sikora and Dr. Stabile but

   only received a 1.5 rating. During this evaluation, Ms. Caplin demonstrated proper technique for

   reflexes and used the automatic blood pressure machine without a problem. The poor evaluation

   test was a result of bias and was subjective in nature. Ms. Caplin demonstrated proper technique

   throughout the care of the patient and Ms. Caplin had performed this type of examination on many

   occasions without a problem. After this encounter, Ms. Caplin requested a meeting with Dean

   Wiles to go over the concerns for signing the chiropractic handbook as it did not state anything

   regarding students with learning disabilities. As of today, the chiropractic handbook still does not

   contain any statements regarding students with learning disabilities.




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            52.   A meeting took place on April 24, 2019 with Dr. Wiles, President Lea, Ms. Caplin

   and her parents. Ms. Caplin advised the staff that her parents would be present because she felt

   uncomfortable by the situation. Once they arrived, Dr. Wiles was already with President Lea and

   told Ms. Caplin’s parents that they would only speak to Ms. Caplin and were under no obligation

   to speak to them. This decision denied Ms. Caplin her right to an advocate. Dr. Wiles and President

   Lea told Ms. Caplin that she was below minimum standard and that she failed the clinic, which

   was a total of 6 credits, and would have to repeat it. Ms. Caplin requested an incomplete grade in

   the class as she was not provided the adequate clinical experience or assistive technology during

   the course, but Dr. Wiles and President Lea denied the request. Ms. Caplin requested an additional

   evaluation, which was reluctantly granted. However, it was obvious at the time that the evaluation

   would fail Ms. Caplin as the staff was intentionally discriminating against Ms. Caplin.

            53.   After the meeting, Ms. Caplin went to her clinical class and spoke to Dr. Stabile

   after the class. Dr. Stabile stated he would speak to Dr. Wiles about allowing an incomplete in the

   class.

            54.   On April 26, 2019, Ms. Caplin had an evaluation and received a grade below the

   passing threshold to pass the course. The evaluation was verbally reviewed with Ms. Caplin briefly

   without detail or specifications. Ms. Caplin was then forced into a room by Dr. Wiles, President

   Lea, and Dr. Benavides. Ms. Caplin, feeling uncomfortable by the situation requested that her

   parents be present for the meeting as every ADA student had a right to an advocate representation

   when requested. The request was denied so Ms. Caplin requested that the meeting be terminated

   and reconvene at another time. This request was also denied, and Ms. Caplin was given a

   behavioral probation for her actions. See Exhibit “C” Inquiry Regarding Pattern of Unprofessional

   Conduct.




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           55.     On April 27, 2019, Ms. Caplin realized she received an “F” in her clinical course

   upon reviewing her Blackboard Account transcripts.

           56.     On May 1, 2019, Ms. Caplin received an email from Dr. Wiles with her new

   schedule, which indicated Ms. Caplin failed her clinic course and was blocked from taking two

   courses designated for the following semester.

           57.     On May 5, 2019, Ms. Caplin emailed her advisor Dr. Benavides stating that her

   previous semester did not provide her with equal opportunity to be successful and would like her

   clinic course grade to be changed from “F” to Incomplete as she was not given an equal opportunity

   in the clinic to demonstrate her abilities with the appropriate accommodations. Ms. Caplin received

   an email from Dr. Wiles stating that the incomplete request would be considered. Dr. Wiles stated

   he would like to meet on May 14, 2019 to further discuss the possibility of receiving an incomplete

   grade in the clinic.

           58.     On May 6, 2019, the faculty made Ms. Caplin repeat semester 8 (clinic 4 course)

   and her FERPA was violated once again, as her personally assigned schedule was posted on the

   clinic wall for all to see. Ms. Caplin’s accommodations were again not met even though this was

   Ms. Caplin’s second time taking the course. Ms. Caplin never received notice from Dr. Kruse of

   the clinic orientation. Ms. Caplin was later reprimanded for missing the orientation even though

   she never received notice of it. Ms. Caplin was advised that she would only be allowed to observe

   patients for the first two weeks of the semester and would not be allowed to be the main intern.

   However, Ms. Caplin in fact was not allowed to be the main intern on any cases for over three

   weeks and was not given the same equal opportunity as the other students in the clinic.

           59.     On May 8, 2019, Ms. Caplin engaged in email conversations with Dr. Kruse and

   President Lea and they stated they would work on making the Keiser Clinic Forms compatible




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   with the tablet, but that in the meantime Ms. Caplin would be provided with a scribe, continuing

   to put her at a disadvantage. Specifically, President Lea emailed Ms. Caplin stating, “We are going

   to have you use a scribe for now. This will meet the spirit of the accommodation.” A scribe did

   not meet Ms. Caplin’s accommodation requirements and was never added to Ms. Caplin’s 504

   plan. Providing a scribe was not only a breach of the agreed accommodations but it was not a

   workable solution to Ms. Caplin’s disability. Ms. Caplin requires assistive technology to have

   notes dictated into the clinic form and read back to her and keep her organized, as well as needing

   reading software, and Keiser had plenty notice of Ms. Caplin’s disability and required

   accommodations at this point.

          60.     On May 14, 2019, Ms. Caplin, Ms. Caplin’s mother, Hava Leipzig Holzhauer (paid

   advocate), Dr. Wiles, President Lea, Dr. Stabile, and John Sites had a meeting to discuss receiving

   an incomplete in the clinic course and to come to an agreement as to how to proceed. The

   conversation led to a proposed agreement between all parties that Ms. Caplin would be provided

   with a fresh start, including full use of working assistive technology, access to at least one patient

   per clinic day, and the removal of any unnecessary behavioral probations, and weekly team check-

   ins. The oral agreement was to be drafted between Ms. Caplin’s advocate and John Sites, but it

   never came to fruition. Instead, Keiser’s counsel created a unilateral agreement that favored Keiser

   and undermined the attempted agreement from the meeting. Ms. Caplin never agreed nor signed

   the draft Keiser’s counsel sent. In response to Ms. Caplin’s discrimination claims, Keiser stated

   Ms. Caplin was incapable of succeeding in her clinical coursework despite receiving mostly A’s

   in her prerequisite skills courses and passing of part one of the chiropractic board exam. In

   addition, Ms. Caplin’s assistive technology was never fully functional, her behavioral probations

   were never removed, no weekly team check-ins, and Ms. Caplin eventually received an “F” in her




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   clinic course and an “unnecessary withdrawal” on her transcript for semester 9 clinic 4 course. See

   Composite Exhibit “D” Course Completion Memorandum of Understanding.

          61.     On May 27, 2019, Ms. Caplin emailed Dr. Wiles her self-created clinic intake forms

   as an alternative to the Keiser Clinic Forms, as the forms were still not compatible with the tablet

   as promised by Keiser. On May 30, 2019, Dr. Stabile stated in a meeting that Ms. Caplin’s forms

   were approved for clinical use. Dr. Stabile and Ms. Caplin discussed that some components were

   needed to make the tablet fully accessible. Since Keiser continuously failed to provide Ms. Caplin

   with forms compatible with her assistive technology, Ms. Caplin attempted to create her own

   version of the clinic form in order to equitably participate in the clinic. Ms. Caplin then asked

   President Lea to order the necessary components for the tablet to be functional.

          62.     On May 31, 2019, Ms. Caplin was assigned her first patient of the semester without

   prior notice and she was evaluated by Dr. Sikora. At this evaluation, Ms. Caplin’s patient was a

   relative of Dr. Sikora’s. In front of Ms. Caplin and Ms. Ramnarine who was scribing (as technology

   was still not accessible), Dr. Sikora called the patient an “idiot.” The patient and Dr. Sikora then

   engaged in an interaction that made Ms. Caplin and Ms. Ramnarine very uncomfortable and failed

   to give Ms. Caplin an equal learning opportunity that everyone else had in the clinic.

          63.     On June 5, 2019, Ms. Caplin received a formal evaluation by Dr. Priest and was not

   granted the use of her self-made clinical forms approved by Dr. Stabile. Ms. Caplin was placed at

   a disadvantage as her accommodations were still not met by Keiser.

          64.     On June 6, 2019, Dr. Wiles accused Ms. Caplin that her self-made forms were a

   “crib sheet” because Ms. Caplin asked to use them during her formal evaluation. Ms. Caplin

   created the clinic forms as a temporary solution as Keiser failed to provide the accommodations

   and workable forms in order for her to succeed in the clinic. Keiser instead should have made these




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   forms compatible with Ms. Caplin’s software yet failed to do so and Ms. Caplin created the forms

   in order to succeed. Ms. Caplin responded to Dr. Wiles by stating that she would be happy to use

   the proper clinic forms if Keiser provided her the required documentation for her to use her

   assistive technology which would allow her to read and dictate into the forms. The entire issue

   was a result of Keiser’s lack of providing adequate accommodations and a denial of equal

   opportunity to Ms. Caplin.

          65.     On June 7, 2019, Ms. Caplin had a conversation with Dr. Sikora requesting that she

   review Ms. Caplin’s self-made intake forms and explained why these forms were created in the

   first place. Dr. Sikora emailed Ms. Caplin that she could use the self-made forms. President Lea

   also emailed Ms. Caplin stating that Dr. Sikora did not have the authority to approve her self-made

   forms and that Dr. Wiles had to approve them before they could be used.

          66.     On June 7, 2019, Dr. Sikora emailed Ms. Caplin regarding a potential HIPAA

   violation for Ms. Caplin’s request of an email copy of the feedback from an informal assessment

   that occurred earlier in the day. This continued harassment was made to disparage Ms. Caplin’s

   professional reputation and to retaliate against Ms. Caplin for requested her required

   accommodations.

          67.     On June 8, 2019, Dr. Wiles referred to Ms. Caplin’s self-made intake forms as

   “orthopedic and neurologic crib sheets” and that she “should strive to gain independence from

   such aids eventually.” Dr. Wiles also stated that “The feedback from the assessed visit provided

   by Dr. Priest was largely focused on skill performance which has nothing to do with assistive

   technology… As far as a retake is concerned, it is not possible.” Dr. Wiles failed to realize that

   Keiser did not provide the forms according to her accommodations and Ms. Caplin was just trying

   to remedy the absence of workable clinical forms that Keiser failed to provide.




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             68.    On June 10, 2019, Ms. Caplin again received a scrutinizing evaluation from Dr.

   Sikora stating that her skill levels were not up to standards. On the evaluation, Dr. Sikora falsely

   stated that Ms. Caplin agreed that her technology was fully functional. However, this was far from

   the truth as the necessary forms were not functional with Ms. Caplin’s assistive technology.

             69.    On June 12, 2019, Dr. Wiles stated, “The newly created Word forms that I sent

   earlier today, are, as you have pointed out, the forms that patients fill out – not the doctor’s intake

   forms. I was mistaken when I sent these to you. The actual doctor’s intake forms are not yet

   available in Word.” It had been over five months since the clinic opened and still Keiser had failed

   to make the appropriate accommodations for Ms. Caplin as approved when she first began at

   Keiser.

             70.    On June 14, 2019, Ms. Caplin had another graded evaluation with Dr. Sikora, in

   which she did not receive feedback from until the following week and Dr. Sikora never offered

   Ms. Caplin an opportunity to practice and improve on her skills as every other student in the clinic

   is able to do.

             71.    On June 17, 2019, Ms. Caplin previously notified the registrar’s office of many

   discrepancies on her transcript. Ms. Caplin finally received an email from the registrar’s office

   stating that there were issues with her transcripts and stating that “several of your courses were

   printing out incorrectly on your transcript.” The registrar’s office claimed they corrected the issue

   but never did until Keiser received Ms. Caplin’s OCR Complaint.

             72.    On June 18, 2019, Ms. Caplin received an email from Dr. Kruse with a below

   average score for the evaluation from June 14, 2019 administered by Dr. Sikora without

   explanation. Later, Ms. Caplin received an Addendum stating the evaluation was even worse than




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   Dr. Sikora initially stated. After that evaluation, Ms. Caplin never received feedback reports again

   for the remainder of the semester.

          73.     Ms. Caplin asked Dr. Priest why she was not receiving feedback in a timely manner

   and he responded that her evaluations needed to be screened by Keiser’s General Counsel and Dr.

   Wiles prior to Ms. Caplin receiving them. At times, this “screening” process would take weeks

   before Ms. Caplin could receive feedback on her evaluations. There is no record of another student

   being treated in the same manner Ms. Caplin has. No other student evaluation had to be screened

   by Keiser’s counsel prior to being given to the student, failing to give Ms. Caplin an equal

   opportunity as the other students in the clinic.

          74.     On June 24, 2019, Dr. Kruse again harassed Ms. Caplin in front of Ms. Caplin’s

   boss Dr. LeVine who was visiting campus that day and was having work related small talk with

   Ms. Caplin during her free time. Ms. Caplin was belittled and forced to leave the room under Dr.

   Kruse’s instructions.

          75.     On June 28, 2019, Ms. Caplin again received a biased evaluation where she

   received a failing score and did not receive feedback or an explanation.

          76.     On June 29, 2019, Ms. Caplin received an email from Dr. Wiles stating that she

   was being pulled from her “clinic 4 course” halfway through the semester and that she was

   receiving a failing grade in exchange of the incomplete she was given temporarily. No notice was

   given, and she was completely removed from her clinical education experience (including patient

   observations and clinical practice). See Exhibit “E” Email. Ms. Caplin was never provided her

   required accommodations and was pushed back an additional semester as retaliation and forced to

   pay additional tuition and expenses.




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            77.   On July 24, 2019, Dr. Wiles denied Ms. Caplin’s right to take her part 4 chiropractic

   board exam and that Ms. Caplin was going to be pushed back two semesters. See Exhibit “F”

   Email.

            78.   On August 6, 2019, Ms. Caplin ordered and paid extra for her official transcripts

   and discovered that she was still missing six credits and there were many errors that needed to be

   corrected. Keiser was on notice that there were problems in Ms. Caplin’s transcripts prior to June

   17, 2019 and still had failed to fix any of the problems. See Exhibit “G” Transcripts.

            79.   On September 4, 2019, Ms. Caplin received an email with the new course

   requirements for the Fall 2019 semester clinic 4 course. At this time, Keiser has failed to make the

   course and some of the necessary paperwork accessible to Ms. Caplin’s assistive technology and

   there is no promise of providing such accommodations to Ms. Caplin in the foreseeable future.

            80.   Ms. Caplin again repeated the clinic 4 course in Fall 2019 due to Keiser’s constant

   discrimination and retaliation.

            81.   On September 9 and 11 of 2019, Dr. Sikora stated that new clinic forms were

   created, and Ms. Caplin was not given an opportunity to review them nor allowed opportunity to

   see patients as the main intern.

            82.   On September 15, 2019, Ms. Caplin emailed Dr. Wiles regarding being able to

   practice with the new clinic forms on her tablet but was not given the opportunity.

            83.   On September 25, 2019, Ms. Caplin again emailed stating she was having issues

   with her assistive technology in the clinic.

            84.   On September 27, 2019, Ms. Caplin saw a Keiser staff member as a patient in the

   clinic. She had never previously treated this patient, but the staff member was aware of Ms.




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   Caplin’s OCR complaint against Keiser. This patient ultimately refused treatment from Ms. Caplin

   and was informed to document same in her notes.

          85.     On October 1, 2019, President Lea sent Ms. Caplin an email requesting she meet

   with Dr. Wiles and Dr. Stabile to sign new semester ADA documents. Ms. Caplin had never been

   asked to do this before this time. On October 2, 2019, Ms. Caplin attended the meeting and was

   given the ADA paperwork. Ms. Caplin requested to have her attorneys join the meeting

   telephonically but was refused the request. She was then dismissed without signing the paperwork.

          86.     On October 7, 2019, Dr. White interrogated Ms. Caplin demanding answers on the

   importance of why she needed the Dragon assistive technology. Ms. Caplin was then assigned a

   patient on this day while Dr. White supervised. During the encounter, Ms. Caplin was pulled out

   of the room and told that she was to only take the history of the patient but could not treat the

   patient and Dr. White would continue to supervise. No other clinical students were subjected to

   this type of discrimination and retaliation.

          87.     On October 18, 2019, Ms. Caplin was called to the front of the clinic and was told

   she would be the lead intern in a new walk-in case. However, moments later, Dr. Kruse reassigned

   the patient to another clinical student stating the case “too complex” for Ms. Caplin to handle.

   Being that Keiser prides itself in having a “teaching” clinic, this should have never happened. In

   fact, Keiser just continued to discriminate against Ms. Caplin for her disability.

          88.     On October 28, 2019, Ms. Caplin received her first evaluation of the semester from

   Dr. White. Dr. White’s evaluation was biased and failed to notice things she was required to do in

   the course at his direction. Dr. White’s feedback was not in an accessible format with Ms. Caplin’s

   assistive technology.




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          89.     On October 30, 2019, Ms. Caplin spent the entire clinical class day sitting in a

   cubicle as she was not given an opportunity to treat a patient. She briefly observed two patients on

   a follow up treatment from other student interns but was benched from participation as the clinic

   failed to provide her with any patients. She was still, at this date, locked out of the chirotouch

   software, an electronic health record used by Keiser student clinic.

          90.     On November 1, 2019, Ms. Caplin again spent most of her clinical class sitting in

   a cubicle and was not given an opportunity to treat or observe patients. Ms. Caplin reviewed her

   chirotouch software and found issues with the software not being compatible with the Natural

   Reader software installed in the tablet and informed Dr. Kruse of these issues.

          91.     On November 6, 2019 and November 13, 2019, Ms. Caplin again was not assigned

   any patients to treat and briefly observed two patient encounters other clinical students had.

          92.     On November 20, 2019, Ms. Caplin spoke to Dr. Spilker regarding the

   incompatibility of chirotouch and natural reader software. Dr. Spilker stated it was not Keiser’s

   problem that the software was not compatible. During this conversation Ms. Caplin requested to

   meet with Chirotouch representatives that were visiting campus and was refused the opportunity.

   At that point, Ms. Caplin felt powerless because her rights under the ADA continued to be violated,

   she continued to be discriminated against, and she was excluded from hands-on training by

   Chirotouch representatives.

          93.     On November 22, 2019, Ms. Caplin received an email that Dr. Benavides was going

   to be her new advisor. Dr. Benavides had previously discriminated against Ms. Caplin and Ms.

   Caplin had previously requested for a change of advisor.

          94.     After multiple requests from Ms. Caplin pertaining her lack of assistive technology,

   Dr. Stabile refused to meet with Ms. Caplin and denied that there were any issues with her assistive




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   technology and chirotouch. In fact, Dr. Stabile stated, “I have spoken with the campus and they

   disagree with your assertion that the equipment is malfunctioning or that we have not provided the

   appropriate assistive technology. As I understand it, you are able to dictate into a Word document,

   cut the text and paste it into ChiroTouch notes.” Dr. Stabile did not understand or attempt to

   understand the problems with the assistive technology and why it was not working efficiently.

          95.      Ms. Caplin called chirotouch with an IT staff at Keiser. The chirotouch software

   representative stated that chirotouch was not compatible with any reading software and that an

   initial request would have to be put in for a review to see if changes could be implemented. Keiser

   was notified long in advance that the electronic health record needed to be compatible with reading

   and dictation assistive technology in order to accommodate for Ms. Caplin’s documented disability

   and chose to violate federal law anyway.

          96.      On November 25, 2019, Ms. Caplin was assigned a Keiser staff member as her

   patient. On that date Ms. Caplin was not allowed to do a practice run on the chirotouch software

   that was not compatible with her reading software. At the start of her treatment of the patient, Ms.

   Caplin was informed she would be evaluated. The dictation device was malfunctioning, and Ms.

   Caplin could not use it for her encounter. After taking the case history, Ms. Caplin informed Dr.

   Luce the kinds of testing she would like to perform on the patient. Dr. Luce informed her that she

   should exclude all neurological testing. Dr. Luce informed Ms. Caplin that she had improvements

   in her evaluation and would later provide feedback on her performance. However, Ms. Caplin was

   later informed her evaluation for the exam would be thrown out as she did not perform neurological

   testing, even after being instructed by Dr. Luce to not perform any neurological testing under any

   circumstance.




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          97.     Ms. Caplin’s attorneys emailed Keiser pertaining to the fact that Ms. Caplin was

   rarely allowed to see patients and had only one assessment the entire semester. Ms. Caplin was not

   placed into any remediation during this semester and it became apparent Ms. Caplin was continued

   to be discriminated against and Keiser was retaliating against her for the complaints regarding

   Keiser’s discrimination.

          98.     On November 27, 2019, after emails to Keiser from the undersigned counsel, Ms.

   Caplin was assigned a patient (a Keiser staff member) at the instruction of President Lea. Ms.

   Caplin’s assistive technology was still not working during this encounter. Ms. Caplin evaluated

   the patient and was reprimanded for requesting more clinical information prior to performing

   chiropractic manipulations for the patient. The patient had an extensive past medical history and

   injuries which sparked Ms. Caplin’s concerns. Professor Spilker unjustly accused Ms. Caplin of

   wasting her patient’s money by suggesting the patient undergo unnecessary tests and additional

   testing that would cost the patient an additional $2,500.00 for imaging. Ms. Caplin explained that

   the patient had previous imaging that she would like to look at and his new scans could be taken

   at a VA center, which would be covered under his health benefits.

          99.     Additionally, Dr. Spilker’s initial feedback on the encounter was inaccessible with

   Ms. Caplin’s assistive technology and she was not provided accessible feedback to review until

   one week later.

          100.    On December 2, 2019, after countless requests to speak with Dr. Benavides and

   after three months of requesting to meet with an advisor, Dr. Benavides agreed to meet with her.

   During their meeting, Ms. Caplin discussed her concerns pertaining to chirotouch’s incompatibility

   with natural reader, her approval to take her part 4 chiropractic board exam, where she stood in

   the clinic course as she was barely given any opportunities to treat patients and have patient




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   encounters and feedback she was still awaiting on previous assessments. Dr. Benavides questioned

   Ms. Caplin as to why she switched from him being her academic advisor the previous semester.

   The line of harassing questioning made Ms. Caplin feel uncomfortable. Ms. Caplin requested his

   notes at the end of the meeting and Dr. Benavides refused. This is a violation of Keiser’s protocol

   as all students are required to receive a copy of advisor/advisee meeting notes.

          101.    On December 4, 2019, Ms. Caplin had a patient encounter and was given an

   evaluation by Dr. White. During the encounter, the patient verbally praised Ms. Caplin for her

   thorough clinical assessment and asked her for her student intern business card. Ms. Caplin

   requested that the client be provided a survey sheet but the receptionist at the clinic refused to

   provide Ms. Caplin with a survey sheet. Ms. Caplin did not receive feedback from Dr. White for

   the encounter until the last day of the semester, more than two weeks later. The feedback was

   biased and did not provide Ms. Caplin with a score/grade for that encounter.

          102.    On December 5, 2019, Dr. Kruse sent an email to all clinical students, including

   Ms. Caplin, with the upcoming clinical schedule for the following semester. Ms. Caplin was the

   only intern whose name was not listed. Keiser, from that moment, intended on failing Ms. Caplin

   again from the clinic 4 class and purposely broadcasted this information to the entire class despite

   the fact that the semester had not ended yet.

          103.    On December 6, 2019, Ms. Caplin was assessing a patient who appeared to have

   extremely high blood pressure. Under Dr. Benavides’ direct supervision, and even though the

   patient had high blood pressure, Ms. Caplin was told to continue the exam and perform her

   orthopedic and neurological testing. After the completion of the testing, Dr. Benavides stepped in

   and took over the case without allowing Ms. Caplin to deliver her report of finding to him, for




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   which she was later reprimanded. Ms. Caplin did not receive feedback from this evaluation for

   two weeks and the feedback was biased without a score/grade.

             104.   On December 18, 2019, Ms. Caplin was not given a patient to treat and only

   observed two patients receiving follow up treatment from other clinic students.

             105.   On the last day of the semester, December 20, 2019, Ms. Caplin still had not

   received feedback for two of her assessments in the course and emailed her professors requesting

   them. She received the feedback on the last day without any grades on them. The feedback was

   again subjective and biased. She was not given any patients to observe on this day.

             106.   Within ten minutes after leaving the clinic, Ms. Caplin checked her blackboard

   account and saw she had received a failing grade for the clinic 4 class again. It is confusing how

   Ms. Caplin could receive a failing grade in the class when two of her assessments had still not been

   graded.

             107.   On December 24, 2019, Ms. Caplin received an email from Dr. Wiles denying her

   the right to take Part 4 National Chiropractic Board Exam.

             108.   Ms. Caplin’s accommodations were simple. Keiser would not suffer undue burden

   by meeting Ms. Caplin’s accommodation and the accommodations would not change the essential

   requirements of the clinic course. All documents Keiser uses in the clinic course should be

   designed to be automatically usable with any type of screen reading or writing technology so as

   not to discriminate against persons with disabilities and be easily accessible at the beginning of

   the clinic courses to allow equal learning opportunities to all students. Keiser failed to meet these

   requirements.

             109.   Due to Keiser’s failure in providing Ms. Caplin the appropriate accommodations

   and equal opportunity as every other student, Ms. Caplin missed out on scholarship opportunities




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   and has had to reject a bonified job offer. See Exhibit “H” Letter from Back in Balance Healing

   Collective. The delay caused Ms. Caplin over a year delay in completion of her coursework,

   payment of additional tuition, and lost wages. Ms. Caplin can only now be considered for entry

   level positions as a chiropractic assistant earning an average of $12–$14 per hour, less than what

   Ms. Caplin was earning prior to enrolling in Keiser’s program.

          110.    Keiser not only failed Ms. Caplin in her clinic 4 course after failing to provide

   reasonable accommodations, but also dismissed her from the graduate program in December 2019.

   See Exhibit “I” December 27, 2019 Keiser Letter.

          111.    On December 27, 2019, Ms. Caplin received an email from Dr. Wiles removing her

   from the chiropractic program for failing the clinic twice. This email states:

          Keiser University's policy on repeating courses requires students to successfully
          complete their graduate level course with a grade of "C" or higher, after the initial
          attempt. A second successive failure will result in dismissal from the graduate
          program.
          After careful review of your records, we have determined that you have earned a
          second failing grade in DCP975 Clinic Practice 4. Therefore, in accordance with
          Keiser University policy, it is necessary to dismiss you from the Doctor of
          Chiropractic program.
          As per the Graduate Catalog, students who have been dismissed from a graduate
          program may not reenter without a personal interview by the Graduate School to
          determine the suitability of the student for graduate education. The results of such
          interviews will be submitted to the Office of the Graduate School.

   See Exhibit “J” Email.

          112.    Ms. Caplin filed a Complaint with the United States Department of Education,

   Office for Civil Rights on September 6, 2019 (the “OCR Report”).

          113.    The OCR Report investigation is still underway.

          114.    Keiser cannot take further retaliatory action against Plaintiff as it did the ultimate

   retaliatory action, dismissing Ms. Caplin from the program.




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          115.    Plaintiff now files this suit in this United States District Court to address

   Defendant’s discrimination against Ms. Caplin’s disability and Defendant’s retaliatory actions

   against Ms. Caplin.

                                  COUNT I
       VIIOLATION OF SECTION 504 OF THE REHABILITATION ACT OF 1973, AS
                           AMENDED, 29 U.S.C. § 794

          116.    Plaintiff hereby incorporates and re-alleges paragraphs 1 through 115 as if

   incorporated fully herein.

          117.    Ms. Caplin is an individual with handicaps as defined by the Rehabilitation Act, 20

   U.S.C. § 794, et seq.

          118.    Ms. Caplin was at all times relevant hereto “otherwise qualified” to participate in

   Keiser’s educational program.

          119.    Keiser has and currently is providing educational services to the general public and

   receiving federal financial assistance and is, therefore, a covered entity within the meaning of the

   Rehabilitation Act. Keiser is a recipient of federal assistance within the meaning of 29 U.S.C.

   §794(a). Keiser’s chiropractic program is a “program or activity” within the meaning of 29 U.S.C.

   § 794(b).

          120.    Keiser violated Section 504 in its gross mismanagement of its education program

   as it pertains to students with disabilities and providing accommodations for Ms. Caplin, all of

   which subjected Ms. Caplin to discrimination on the basis of her disabilities.

          121.    Keiser has continuously failed to provide Ms. Caplin with reasonable

   accommodations.

          122.    By committing the acts described above, without limitation, failing to

   accommodate Ms. Caplin in its educational program, failing to provide her with all her required




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   accommodations during the clinic course, by continuously benching Ms. Caplin from participation

   on account of Keiser’s failure to provide accommodations, and by discriminating against her in

   the provision of educational services on the basis of her disability. Defendant has violated

   Plaintiff’s right under Section 504.

          123.    Since Ms. Caplin’s enrollment at Keiser, Keiser, by and through its employees, all

   acting under color of law, have engaged in a pattern of discrimination, harassment, intimidation,

   and retaliation against Ms. Caplin.

          124.    Keiser is excluding and/or discriminating against Ms. Caplin solely on the basis of

   her disability. As a result, Ms. Caplin has suffered and will continue to suffer extreme hardship

   and actual and impending irreparable harm.

          125.    Such discrimination, harassment, intimidation, and retaliation referred to above

   would not have occurred but for the Plaintiff’s complaints and requests to be provided with her

   required accommodations, complaints about Keiser’s program, her filing of internal complaints

   with Keiser, and OCR Complaint filed.

          126.    Ms. Caplin has no adequate or speedy remedy at law for Keiser’s conduct described

   above. Because Defendant’s discriminatory conduct is ongoing, declaratory and injunctive relief

   against the Defendant is appropriate pursuant to 42 U.S.C. § 12133.

          127.    Plaintiff is also entitled to recover reasonable attorneys’ fees and costs incurred in

   bringing this action.

          128.    Defendant’s policies, practices, and procedures, particularly the actions and

   omissions described above, violated the Plaintiff’s rights under Section 504 of the Rehabilitation

   Act by discriminating on the basis of a disability.




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           129.    Defendant has acted either intentionally or in deliberate disregard for the protected

   rights of the Plaintiff herein.

           WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief

   against the Defendant, including entering a declaratory judgment, pursuant to Rule 57 of the

   Federal Rules of Civil Procedure, stating that the Defendant’s practices, policies, and procedures

   have subjected Plaintiff to discrimination in violation of Section 504 of the Rehabilitation Act

   permanently enjoining the Defendant from any practice, policy and/or procedure which will deny

   Ms. Caplin equal access to, and benefit from the Defendant’s services, award compensatory

   damages; reinstate Ms. Caplin into the educational program and allow Ms. Caplin to complete her

   clinical courses at an outside facility; require Keiser fix Ms. Caplin’s transcripts; require Keiser

   pay for Ms. Caplin’s damages resulting from Keiser’s discrimination, including but not limited to

   tuition and lost wages; reasonable costs and attorney’s fees; and award any and all other relief this

   Court may deem necessary and appropriate.

                                     COUNT II
        VIOLATION OF TITLE II OF THE AMERICANS WITH DISABILITIES ACT,
                              42 U.S.C. § 12131, et seq.

           130.    Plaintiff hereby incorporates and re-alleges paragraphs 1 through 115 as if

   incorporated fully herein.

           131.     Plaintiff is a “qualified individual with a disability” pursuant to the ADA, 42

   U.S.C. § 12131(2). She was at all times relevant hereto entitled to be free from discrimination in

   educational services she received.

           132.    Defendant has and is currently providing education services to the general public

   and receiving federal financial assistance and is, therefore, a “public entity” within the meaning of

   the ADA. 42 U.S.C. § 12131, et seq.




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           133.    Defendant violated Title II of the ADA in its gross mismanagement of its education

   program as it pertains to students with disabilities, which subjected Ms. Caplin to discrimination

   on the basis of her disability, by committing the acts described above.

           134.    Keiser violated Title II of the ADA by denying equal services, programs or

   activities to Ms. Caplin, based on her disabilities.

           135.    Defendant violated Title II of the ADA further by, without limitation, failing to

   provide Ms. Caplin with required accommodations in the clinic course, removing her from the

   clinic course on multiple occasions, benching her from participation, failing to provide clients to

   examine, failing to provide feedback to her after seeing patients, and failing to provide appropriate

   accommodations to her.

           136.    Since Ms. Caplin’s enrollment, Keiser, by and through its employees, all acting

   under color of law, have engaged in a pattern of discrimination, harassment, intimidation, and

   retaliation against the Plaintiff.

           137.    Such discrimination, harassment, intimidation, and retaliation referred to above

   would not have occurred but for the Plaintiff’s complaints and requests to be provided with her

   required accommodations, complaints about Keiser’s program, her filing of internal complaints

   with Keiser, and OCR Complaint filed.

           138.    Ms. Caplin has no adequate or speedy remedy at law for Keiser’s conduct described

   above. Because Keiser’s discriminatory conduct is ongoing, declaratory and injunctive relief

   against Keiser is appropriate pursuant to 42 U.S.C. § 12133.

           139.    Plaintiff is also entitled to recover reasonable attorneys’ fees and costs incurred in

   bringing this action pursuant to 42 U.S.C. § 12205.




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          WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief

   against the Defendant, including entering a declaratory judgment, pursuant to Rule 57 of the

   Federal Rules of Civil Procedure, stating that the Defendant’s practices, policies, and procedures

   have subjected Plaintiff to discrimination in violation of the Americans with Disabilities Act

   permanently enjoining the Defendant from any practice, policy and/or procedure which will deny

   Ms. Caplin equal access to, and benefit from the Defendant’s services, award compensatory

   damages; reinstate Ms. Caplin into the educational program and allow Ms. Caplin to complete her

   clinical courses at an outside facility; require Keiser fix Ms. Caplin’s transcripts; require Keiser

   pay for Ms. Caplin’s damages resulting from Keiser’s discrimination, including but not limited to

   tuition and lost wages; reasonable cost and attorneys’ fees; and award any and all other relief that

   may be necessary and appropriate.

                                            COUNT III
                                SECTION 12203 RETALIATION CLAIM

          140.    Plaintiff hereby incorporates and re-alleges paragraphs 1 through 115 as if

   incorporated fully herein.

          141.    Plaintiff brings this retaliation claim against Keiser, pursuant to the ADA’s

   prohibition against retaliation as set forth in 42 U.S.C. § 12203.

          142.    The ADA prohibits retaliation against an individual for asserting rights under Title

   II. 42 U.S.C. § 12203. Retaliation is prohibited against any individual who “made a charge,

   testified, assisted, or participated in any manner in an investigation, proceeding, or hearing under”

   the ADA. 42 U.S.C. § 12203(a); see also 28 C.F.R. 36.206(c)(4) (prohibiting “[r]etaliating against

   any person because that person has participated in any investigation or action to enforce the

   [ADA]” in public accommodations). Title V allows victims of retaliation to seek the same type of

   relief provided in the underlying ADA title. See 41 U.S.C. § 12203(c) (incorporating the remedies



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   and procedures of Titles I, II, and III for retaliation claims brought under Title V); Shotz v. City of

   Plantation, 344 F.3d 1161, 1181 n.31 (11th Cir. 2003) (stating that the anti-retaliation provision

   “provides the same remedies and procedures for victims . . . as in the underlying title”).

          143.    Section 504 of the Rehabilitation Act of 1973 prohibits disability discrimination in

   programs or activities that receive federal financial assistance.

          144.    The plain unambiguous language of the statutory and regulatory frameworks

   prohibits discriminating against an individual because that individual engaged in its statutorily and

   Constitutionally protected conduct pursuant to this chapter of the ADA, 42 U.S.C. § 12131, et seq.,

   Title II of the ADA.

          145.    As a remedial civil rights statute, the ADA is to be broadly construed to effectuate

   its purpose.

          146.    Ms. Caplin is an individual with handicaps as defined by the Rehabilitation Act, 20

   U.S.C. § 794, et seq.

          147.    Ms. Caplin was at all times relevant hereto “otherwise qualified” to participate in

   Keiser’s educational program.

          148.    Keiser has and currently is providing educational services to the general public and

   receiving federal financial assistance and is, therefore, a covered entity within the meaning of the

   Rehabilitation Act. Keiser is a recipient of federal assistance within the meaning of 29 U.S.C.

   §794(a). Keiser’s chiropractic program is a “program or activity” within the meaning of 29 U.S.C.

   § 794(b).

          149.    Ms. Caplin made repeated requests by emailing and meeting with Keiser’s staff,

   president, deans, and several of its agents.




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          150.    Keiser has continuously retaliated against Ms. Caplin since the day she attempted

   to enforce her rightful accommodations, as more fully described above, to the point where Keiser

   failed Ms. Caplin from her clinical course a second time and dismissed her from the university and

   program altogether without ever providing the required accommodations requested on multiple

   occasions.

          151.    Keiser especially retaliated against Ms. Caplin after she filed a discrimination

   complaint with Keiser directly and an OCR complaint. Ms. Caplin was dismissed from Keiser the

   same semester she filed the OCR complaint against Keiser.

          152.    Keiser never intended in providing Ms. Caplin with her required accommodation,

   instead it took all of Ms. Caplin’s tuition payments and ignored her repeated requests to provide

   accommodations, and to provide her an equal opportunity in her training to become a chiropractor.

          153.    Ms. Caplin has been damaged as a result of Keiser’s retaliation. Ms. Caplin has

   been dismissed from the chiropractic program and left without a chiropractic degree, without the

   ability to enroll in any other school because she must be a student in good standing. Ms. Caplin

   has been left without any other resources to complete her career.

          154.    Had Keiser provided Ms. Caplin with her accommodations and not retaliated

   against Ms. Caplin, Ms. Caplin would have completed her career by now.

          WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief

   against the Defendant, including entering a declaratory judgment, pursuant to Rule 57 of the

   Federal Rules of Civil Procedure, stating that the Defendant’s practices, policies, and procedures

   have been a product of retaliation against the Plaintiff after asserting her rights under Title II of

   the ADA, award compensatory damages; reinstate Ms. Caplin into the educational program and

   allow Ms. Caplin to complete her clinical courses at an outside facility; require Keiser fix Ms.




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   Caplin’s transcripts; require Keiser pay for Ms. Caplin’s damages resulting from Keiser’s

   discrimination, including but not limited to tuition and lost wages; reasonable cost and attorneys’

   fees; and award any and all other relief that may be necessary and appropriate.

                                     COUNT IV
                  VIOLATION OF FEDERALLY PROTECTED RIGHTS - § 1983

           155.    Plaintiff hereby incorporates and re-alleges paragraphs 1 through 115 as if

   incorporated fully herein.

           156.    Defendant, including its agents and employees, acting in their official capacities

   under color of law, through their non-compliance with Section 504, and the ADA, have

   individually, jointly, and severally deprived Ms. Caplin of her federally protected rights, including

   her right to a free, appropriate education and to due process of law, and created a hostile

   educational environment, rendering Defendant liable under 42 U.S.C. § 1983.

           157.    Since Ms. Caplin’s enrollment, Keiser, by and through its employees, all acting

   under color of law, have engaged in a pattern of discrimination, harassment, intimidation, and

   retaliation against the Plaintiff.

           158.    Such discrimination, harassment, intimidation, and retaliation referred to above

   would not have occurred but for the Plaintiff’s complaints and requests to be provided with her

   required accommodations, complaints about Keiser’s program, her filing of internal complaints

   with Keiser, and OCR Complaint filed.

           WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief

   against the Defendant, including entering a declaratory judgment, pursuant to Rule 57 of the

   Federal Rules of Civil Procedure, stating that the Defendant, through its non-compliance with

   Section 504, and the ADA, has individually, jointly, and severally deprived Ms. Caplin of her

   federally protected right, award compensatory damages; reinstate Ms. Caplin into the educational



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   program and allow Ms. Caplin to complete her clinical courses at an outside facility; require Keiser

   fix Ms. Caplin’s transcripts; require Keiser pay for Ms. Caplin’s damages resulting from Keiser’s

   discrimination, including but not limited to tuition and lost wages; reasonable cost and attorneys’

   fees; and award any and all other relief that may be necessary and appropriate.

                                           JURY DEMAND

          PLAINTIFF DEMANDS A TRIAL BY JURY FOR ALL ISUES FOR WHICH A

   TRIAL BY JURY IS PERMITTED.

   Dated: May 5, 2020                                   Respectfully submitted,

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